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FORGE RAISE OF MARYLAND
UNITED STATES OF AME Ica uy
ey *  CRIMINALNO. DAC -at0-O 14
v. ae
* (Theft of Government Property,
WARDELL LESTER, JR., * —-:18 U.S.C. § 641; Social Security
* - Fraud, 42 § U.S.C. 408(a)(4);
Defendant * Aiding and Abetting, 18 U.S.C. §

* 2; Forfeiture, 18 U.S.C.
* § 981(a)(1)(C), 21 U.S.C. § 853, 28
* U.S.C. § 2461 (¢))

INDICTMENT
COUNT ONE
The Grand Jury for the District of Maryland charges that:
| Introduction
At ail times relevant to the charges in this Indictment:
1. WARDELL LESTER, JR. (“LESTER”) was a resident of Baltimore, Maryland.
2. The Social Security Administration (“SSA”) was an agency of the United States
Government that administered the Retirement Insurance Benefit Program, which paid monthly
benefits to individuals who worked and paid taxes to SSA. To be eligible for Title IT Retirement
Benefits, individuals must have had reached the age of 62 and paid a portion of their prior wages
into the program. Benefit eligibility and payment amount were determined based on the age of
the beneficiary at retirement and the average salary and number of years of employment.
3. For beneficiaries who could not manage or direct the management of their Social
Security benefits, SSA would appoint a representative payee, whose primary responsibility was

to use the benefits to pay for the current and future needs of the beneficiary, and save any
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benefits not needed to meet current needs. Payees were required to keep records of the
beneficiary’s expenses and periodically report them to SSA.

4, P. L. was an SSA Title Ii Retirement Insurance beneficiary. LESTER was
appointed P.L.’s representative payee in August 1996.

5. P.L. died on or about September 5, 1997, LESTER did not notify SSA of P.L.’s
death.

| 6. Despite P.L.’s death, LESTER continued to submit annual reports to SSA stating
that he was spending P.L.’s SSA retirement insurance benefits on P.L.’s food, housing, and
personal items.

7. LESTER received P.L.’s monthly SSA retirement benefit payments over the next
Seen years. As a result, SSA paid LESTER over $223,000 in benefits after the death of P.L. to
which he was not entitled.

8. SSA became aware of the fraud and, on January 11, 2019, agents of SSA’s Office
of Inspector General interviewed LESTER. During the interview, LESTER admitted to stealing
P.L.’s benefits payments and falsifying annual reports to SSA regarding expenditure. LESTER
apologized for stealing the funds, and stated that he knew it was wrong.

9. Despite his apology, LESTER continued to steal SSA benefits payments until

SSA could complete the administrative process to terminate them in May 2019.
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The Charge

| 10. Between in or about September 1997 and in or about May 2019, in the District of
Maryland, the defendant,
WARDELL LESTER, JR.,
did embezzle, steal, purloin, and knowingly convert to his use and the use of another, any money
and thing of value of the United States and any department and agency thereof, with an
aggregate value that exceeded $1,000, that is, Social Security Retirement Insurance Benefit

payments to which he was not entitled.

18 U.S.C. § 641
18 U.S.C, §2
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COUNT TWO
(Social Security Fraud)

The Grand Jury for the District of Maryland further charges that:

1. The allegations of Paragraphs 1 through 9 of Count One are incorporated here.

2. Between in or about September 1997 and on or about January 11, 2019, in the
District of Maryland, the defendant,

WARDELL LESTER, JR.,

having knowledge of the occurrence of any event affecting the initial or continued right of
payment under Subchapter II of Title 42, United States Code, did conceal and fail to disclose
said event with intent to fraudulently secure payment in a greater amount than is due and when
no payment is authorized; to wit, the defendant concealed and failed to disclose that P.L. died,
for the purpose of causing the Social Security Administration to continue to make Social
Security Retirement Insurance Benefit payments, when no such payments were due.

42 U.S.C. § 408(a)(4)
18 U.S.C. § 2
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

lL, Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), as a result of the

defendant’s conviction under Count One of this Indictment.

2. As a result of the offense set forth in Count One of the Indictment, the defendant,
WARDELL LESTER, JR.,
shall forfeit to the United States any property, real or personal, which constitutes or is derived

from proceeds traceable to such violation.

3. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,
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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any other

property of said defendant up to the value of the forfeitable property, that is, at least $223,655.

18 U.S.C. § 981(a)(1)(C)
21 US.C. § 853(p)
28 U.S.C. § 2461(c)

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